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 PAUL, WEISS, RIFKIND, WHARTON &
 GARRISON LLP
 1285 Avenue of the Americas
 New York, New York 10019
 Tel: 212-373-3000
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 Paul M. Basta
 Kelley A. Cornish
 Lewis R. Clayton

 Counsel for the Debtors, Acting at the
 Direction of the Restructuring Sub-Committee

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------x
 In re:                                                           :      Chapter 11
                                                                  :
 SEARS HOLDINGS CORPORATION, et al.,                              :      Case No. 18-23538 (RDD)
                                                                  :
                   Debtors.1                                      :      (Jointly Administered)
                                                                  :
 -----------------------------------------------------------------x
               SUMMARY SHEET TO THE SECOND INTERIM FEE
      APPLICATION OF PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP,
     ATTORNEYS FOR THE DEBTORS AND DEBTORS IN POSSESSION FOR THE
      PERIOD FROM MARCH 1, 2019 THROUGH AND INCLUDING JUNE 30, 2019

 1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart
     Operations LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc.
     (6774); A&E Factory Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn & Garden, LLC
     (5028); A&E Signature Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc. (7180); Kmart
     Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co. (6028); Sears
     Holdings Management Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears Home
     Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services, Inc.
     (2859); Sears Protection Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck
     Acceptance Corp. (0535); Sears, Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs
     LLC (None); Big Beaver of Florida Development, LLC (None); California Builder Appliances, Inc. (6327);
     Florida Builder Appliances, Inc. (9133); KBL Holding Inc. (1295); KLC, Inc. (0839); Kmart of Michigan, Inc.
     (1696); Kmart of Washington LLC (8898); Kmart Stores of Illinois LLC (8897); Kmart Stores of Texas LLC
     (8915); MyGofer LLC (5531); Sears Brands Business Unit Corporation (4658); Sears Holdings Publishing
     Company, LLC. (5554); Sears Protection Company (Florida), L.L.C. (4239); SHC Desert Springs, LLC (None);
     SOE, Inc. (9616); StarWest, LLC (5379); STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC (None);
     BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); Kmart.com LLC
     (9022); SHC Licensed Business LLC (3718); SHC Promotions LLC (9626); Sears Brands Management
     Corporation (5365), and SRe Holding Corporation (4816). The location of the Debtors’ corporate headquarters
     is 3333 Beverly Road, Hoffman Estates, Illinois 60179.
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   General Information

   Name of Applicant:                        Paul, Weiss, Rifkind, Wharton & Garrison LLP

   Authorized to Provide Professional        Debtors and Debtors in Possession
   Services to:

   Date of Retention:                        November 16, 2018, nunc pro tunc to
                                             October 15, 2018

   Prior Applications:                       First Interim Fee Application of Paul, Weiss,
                                             Rifkind, Wharton & Garrison LLP, Attorneys for
                                             the Debtors and Debtors in Possession for the
                                             Period from October 15, 2018 through and
                                             Including February 28, 2019 [Docket No. 3207]

   Period for which compensation and         March 1, 2019 through June 30, 2019 (the “Fee
   reimbursement is sought:                  Period”)



   Summary of Fees and Expenses Sought for the Fee Period

   Amount of Fees Sought as Actual,                   $4,973,799.25
   Reasonable, and Necessary for the Fee
   Period:

   Amount of Expense Reimbursement Sought             $1,160,821.70
   as Actual, Reasonable, and Necessary for the
   Fee Period:

   Total Fees and Expense                             $6,134,620.95
   Reimbursement Requested for the Fee
   Period:


   Total Fees and Expenses Allowed Pursuant to Prior Applications

   Total Allowed Fees Paid to Date:                   $14,377,232.25


   Total Allowed Expenses Paid to Date:               $288,917.88




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     Total Allowed Fees and Expenses Paid to                               $14,666,150.13
     Date:


     Total Fees and Expenses Paid to Applicant Pursuant to Monthly Statements

     Fees Sought for this Fee Period Already Paid                          $2,870,827.402
     Pursuant to Monthly Fee Statements but Not
     Yet Allowed (80% of fees):

     Expenses Sought for this Fee Period Already                           $1,064,727.973
     Paid Pursuant to Monthly Fee Statements but
     Not Yet Allowed (100% of expenses):

     Total Fees and Expenses Sought for this Fee                           $3,935,555.374
     Period Already Paid Pursuant to Monthly Fee
     Statements but Not Yet Allowed:

     Total Fees and Expenses Sought for this Fee                           $2,199,065.585
     Period Not Yet Paid:

     Summary of Rates and Other Related Information for this Fee Period


     Blended Rate in this Application for All                              $933.92
     Attorneys:




      2
       The objection period for the Ninth Monthly Fee Statement expired on August 14, 2019. As such, Paul Weiss anticipates receiving
 $1,108,212.00, which represents 80% of fees incurred during the period of June 1, 2019 through June 30, 2019 (“Ninth Monthly Fee
 Period”), before the Court enters an order on this Second Interim Fee Application. Upon receipt, fees sought for this Fee Period already
 paid pursuant to monthly fee statements but not yet allowed will equal $3,979,039.40. Paul, Weiss reserves all rights with respect to the
 foregoing.
      3
        The objection period for the Ninth Monthly Fee Statement expired on August 14, 2019. As such, Paul Weiss anticipates receiving
 $96,093.73, which represents 100% of expenses incurred during the Ninth Monthly Fee Period, before the Court enters an order on this
 Second Interim Fee Application. Upon receipt, expenses sought for this Fee Period already paid pursuant to monthly fee statements but
 not yet allowed will equal $1,160,821.70. Paul, Weiss reserves all rights with respect to the foregoing.
      4
        The objection period for the Ninth Monthly Fee Statement expired on August 14, 2019. As such, Paul Weiss anticipates receiving
 $1,204,305.73, in the aggregate, which represents 80% of fees and 100% of expenses incurred during the Ninth Monthly Fee Period,
 before the Court enters an order on this Second Interim Fee Application. Upon receipt, the total fees and expenses sought for this Fee
 Period already paid pursuant to monthly fee statements but not yet allowed will be $5,139,861.10 Paul, Weiss reserves all rights with
 respect to the foregoing.
       5
         This amount represents $994,759.85, representing holdback fees equal to 20% of fees incurred during the Fee Period (inclusive of
 anticipated holdback fees incurred during the Ninth Monthly Fee Period), plus $1,204,305.73, representing 80% of fees and 100% of
 expenses incurred during the Ninth Monthly Fee Period. As noted supra note 4, Paul, Weiss anticipates receiving $1,204,305.73, in the
 aggregate, before the Court enters an order on this Second Interim Fee Application. Upon receipt, the total fees and expenses sought for
 this Fee Period not yet paid will equal $994,759.85 (inclusive of anticipated holdback fees incurred during the Ninth Monthly Fee
 Period). Paul, Weiss reserves all rights with respect to the foregoing.



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   Blended Rate in this Application for All          $732.59
   Timekeepers:

   Number of Timekeepers Included in this            53
   Application:

   Number of Attorneys in this Application Not       0
   Included in Staffing Plan Discussed with
   Client:

   Difference Between Fees Budgeted and              Fees are within the budgeted range.
   Compensation Sought for this Period:

   Number of Attorneys Billing Fewer than 15         6
   Hours to the Case During the Fee Period

   Increase in Rates Since Date of Retention:        None



   This is an:     monthly     X interim         final application




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                                                             Summary of Prior Monthly Fee Statements

Date Filed &              Period             Total Compensation and                        Total Amount Previously                     Total Amount Paid to Date                     Holdback
 ECF No.                 Covered              Expenses Incurred for                         Requested with Prior                                                                       Fees
                                                 Period Covered                             Monthly Fee Statement                                                                    Requested
                                                                                                                                                                                      (20%)

                                                  Fees               Expenses                  Fees                Expenses                  Fees               Expenses
                                                                                              (80%)                 (100%)                  (80%)                (100%)
 04/24/2019            3/1/2019 –
ECF No. 3343                                 $988,991.75            $353,233.29            $791,193.40           $353,233.29            $791,193.40            $353,233.29           $197,798.35
                       3/31/2019
 05/31/2019            4/1/2019 –
ECF No. 4098                                $1,179,761.50           $674,398.71            $943,809.20           $674,398.71            $943,809.20            $674,398.71           $235,952.30
                       4/30/2019
 06/27/2019            5/1/2019 –
ECF No. 4378                                $1,419,781.00            $37,095.97          $1,135,824.80            $37,095.97           $1,135,824.80            $37,095.97           $283,956.20
                       5/31/2019
 07/30/2019            6/1/2019 –           $1,385,265.00            $96,093.73          $1,108,212.00            $96,093.73                 $0.00                 $0.00             $277,053.00
ECF No. 4649           6/30/2019
  Total for
   Second               3/1/2019-
                                          $4,973,799.25            $1,160,821.70         $3,979,039.40          $1,160,821.70          $2,870,827.40          $1,064,727.97         $994,759.85
 Interim Fee            6/30/2019
 Application


Summary of Objections to Monthly Fee Statements: None

Compensation Sought in this Application Not Yet Paid: $2,199,065.581




     1 This amount represents $994,759.85, representing holdback fees equal to 20% of fees incurred during the Fee Period (inclusive of anticipated holdback fees incurred during the Ninth

Monthly Fee Period), plus $1,204,305.73, representing 80% of fees and 100% of expenses incurred during the Ninth Monthly Fee Period. As noted supra note 4, Paul, Weiss anticipates
receiving $1,204,305.73, in the aggregate, before the Court enters an order on this Second Interim Fee Application. Upon receipt, the total fees and expenses sought for this Fee Period not
yet paid will equal $994,759.85 (inclusive of anticipated holdback fees incurred during the Ninth Monthly Fee Period). Paul, Weiss reserves all rights with respect to the foregoing.
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                                      Compensation By Professional
                                    March 1, 2019 through June 30, 2019

Name of Professional      Title        Department     Year            Hourly       Total        Total
                                                     Admitted       Billing Rate   Billed    Compensation
                                                                          ($)      Hours         ($)
Kelley Cornish          Partner        Bankruptcy       1984             1,560         160.0     247,884.00
Paul Basta              Partner        Bankruptcy       1993             1,560         159.2     248,352.00
Lewis Clayton           Partner        Litigation       1979             1,560         130.5     203,580.00
Richard Rosen           Partner        Litigation       1980             1,560           1.5       2,340.00
Susanna Buergel         Partner        Litigation       2002             1,485          93.9     139,441.50
Robert Britton          Partner        Bankruptcy       2008             1,165         165.0     190,419.25
Jonathan Hurwitz        Counsel        Litigation       1987             1,160         266.0     308,560.00
Stephen Koo             Counsel        Corporate        1988             1,160           3.5       4,060.00
Karen King              Counsel        Litigation       2001             1,160          47.5      55,100.00
Shane Avidan            Associate      Litigation       2013             1,005         286.2     287,631.00
David Fish              Associate      Litigation       2017              835           61.3      51,185.50
Daniel Negless          Associate      Litigation       2017              835           75.1      62,708.50
Jonathan Silberstein-   Associate      Litigation       2015              940          119.0     111,860.00
Loeb
Paul Gross              Associate      Litigation       2018            735           127.5       93,712.50
Emily Hoyle             Associate      Litigation       2018            735           267.6      196,686.00
David Giller            Associate      Litigation       2015            940           487.6      455,524.00
Rachel Corrigan         Associate      Litigation       2019            640           353.8      226,432.00
Akila Sarathy           Associate      Litigation    Not admitted       640            74.9       47,936.00
Caitlin Toto            Associate      Bankruptcy       2019            640           282.2      179,040.00
Spencer Young           Associate      Litigation   Not admitted        640           211.8      135,552.00
Margaret Sun            Associate      Litigation   Not admitted        640           314.4      201,216.00
Teresa Lii              Associate      Bankruptcy       2014            920           244.7      224,066.00
Attorney Total:                                                                      3933.2    3,673,286.25
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 Name of Staff Attorneys, Paralegals, and Other       Hourly Billing   Total Billed      Total
                Non-Legal Staff                         Rate ($)         Hours        Compensation
                                                                                          ($)
Madhuri Pavamani                                            490              200.8          98,392.00
Francine Murray                                             490              362.5         177,625.00
Claudia Novod                                               480               35.0          16,800.00
Binsy Cyriac                                                480              364.2         174,816.00
Heather Spitalnik                                           480                7.3           3,504.00
Adrian Burke                                                480               51.3          24,624.00
Brent Beck                                                  480               69.4          33,312.00
Lisa Johnson                                                480              313.5         150,480.00
Vincent Todarello                                           480               53.1          25,488.00
Mark Shapiro                                                480              163.6          78,528.00
James Crutchfield                                           480               33.6          16,128.00
Scott Golodner                                              480              180.2          86,496.00
Akiva Reich                                                 480              144.3          69,264.00
Michael Bernfeld                                            480               45.5          21,840.00
Sergio Herrera                                              480               86.7          41,616.00
Li Zhuang                                                   480               60.4          28,992.00
Ye Qing                                                     480               40.2          19,296.00
Arianny Mejia                                               480               57.6          27,648.00
Rosanna Rossi                                               480               62.1          29,808.00
Joseph Monzione                                             365               89.8          32,777.00
Brooke Filler                                               365               65.1          23,761.50
Zakiya Williams Wells                                       315               11.4           3,591.00
Jennifer Kellner                                            315               17.1           5,386.50
Rubin Danberg Biggs                                         315               35.6          11,214.00
Sarah Griffin                                               315              111.9          35,248.50
Olivia Irby                                                 315               29.5           9,292.50
Eric Gansman                                                315               18.6           5,859.00
Elisabeth Stuveras                                          345               14.5           5,002.50
Alan Wilbur                                                 345               99.8          34,431.00
David Dames                                                 295               17.0           5,015.00
Mary Olsen                                                  295               14.5           4,277.50
     Total Staff Attorneys, Paralegals and Other Non-Legal Staff:           2856.1       1,300,513.00




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         PROFESSIONALS                  BLENDED     TOTAL BILLED            TOTAL
                                        RATE ($)       HOURS            COMPENSATION ($)
 Partners and Counsel                    1,362.80             1,027.1            1,399,736.75
 Associates                               782.34              2,906.1            2,273,549.50
 Staff Attorneys/Paralegals/Non-Legal
                                          455.35              2,856.1            1,300,513.00
 Staff
 Blended Attorney Rate                    933.92

 Blended Rate All Timekeepers             732.59
                 Total Fees Incurred                          6,789.3            4,973,799.25




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                                Compensation by Project Category
                                March 1, 2019 through June 30, 2019

                           Project Category                     Total Hours      Total Fees ($)

 Case Administration (701)                                             289.3           108,644.00
 Conflict Matters: General (702)                                        19.7            15,213.00
 Conflict Matters: Investigations & Discovery (703)                   2,732.1        1,416,332.50
 Fee/Employment Applications (Paul, Weiss) (705)                       179.2           112,011.50
 Fee/Employment Applications (Other) (706)                              35.3            26,073.50
 Fee/Employment Objections (707)                                          2.8            2,191.00
 Plan and Disclosure Statement (709)                                   577.9           650,869.50
 Litigation (710)                                                     2,871.4        2,559,460.50
 Travel Time (712)                                                      18.5             8,967.75
 Court Hearings (713)                                                   42.6            48,757.50
 Sale Transactions (714)                                                15.9            20,752.50
 Corporate Governance (716)                                               4.6            4,526.00
 TOTAL                                                                6,789.3        4,973,799.25




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                                          Expense Summary
                                  March 1, 2019 through June 30, 2019

                              Expenses Category                         Total Expenses ($)
 Electronic Discovery                                                             327,974.68
 Professional Services                                                            712,684.33
 Court Costs & Lit Expenses                                                        30,540.45
 Client Organizational Expenses                                                      144.00
 Information Retrieval Services                                                    45,464.94
 Out-of-Town Travel                                                                 6,560.42
 Miscellaneous                                                                      5,588.26
 Word Processing                                                                    6,663.75
 Overtime Expenses                                                                  5,430.39
 Duplicating Expenses                                                               7,079.78
 Communications                                                                      171.89
 Mail and Messengers                                                                1,209.93
 Local Transportation Expenses                                                      9,314.00
 Business Expenses                                                                  1,994.88
 TOTAL                                                                          1,160,821.70
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 PAUL, WEISS, RIFKIND, WHARTON &
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 Fax: 212-757-3990
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 Lewis R. Clayton

 Counsel for the Debtors, Acting at the
 Direction of the Restructuring Sub-Committee

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------x
 In re:                                                           :      Chapter 11
                                                                  :
 SEARS HOLDINGS CORPORATION, et al.,                              :      Case No. 18-23538 (RDD)
                                                                  :
                   Debtors.1                                      :      (Jointly Administered)
                                                                  :
 -----------------------------------------------------------------x
                  SECOND INTERIM FEE APPLICATION OF
            PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP,
     ATTORNEYS FOR THE DEBTORS AND DEBTORS IN POSSESSION, FOR THE
                  PERIOD FROM MARCH 1, 2019 THROUGH

 1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart
     Operations LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc.
     (6774); A&E Factory Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn & Garden, LLC
     (5028); A&E Signature Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc. (7180); Kmart
     Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co. (6028); Sears
     Holdings Management Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears Home
     Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services, Inc.
     (2859); Sears Protection Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck
     Acceptance Corp. (0535); Sears, Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs
     LLC (None); Big Beaver of Florida Development, LLC (None); California Builder Appliances, Inc. (6327);
     Florida Builder Appliances, Inc. (9133); KBL Holding Inc. (1295); KLC, Inc. (0839); Kmart of Michigan, Inc.
     (1696); Kmart of Washington LLC (8898); Kmart Stores of Illinois LLC (8897); Kmart Stores of Texas LLC
     (8915); MyGofer LLC (5531); Sears Brands Business Unit Corporation (4658); Sears Holdings Publishing
     Company, LLC. (5554); Sears Protection Company (Florida), L.L.C. (4239); SHC Desert Springs, LLC (None);
     SOE, Inc. (9616); StarWest, LLC (5379); STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC (None);
     BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); Kmart.com LLC
     (9022); SHC Licensed Business LLC (3718); SHC Promotions LLC (9626); Sears Brands Management
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     is 3333 Beverly Road, Hoffman Estates, Illinois 60179.
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                                AND INCLUDING JUNE 30, 2019

 TO THE HONORABLE ROBERT DRAIN,
 UNITED STATES BANKRUPTCY JUDGE:

        Paul, Weiss, Rifkind, Wharton & Garrison LLP (“Paul, Weiss”), attorneys for the above-

 captioned debtors and debtors in possession (collectively, the “Debtors”), acting at the direction

 of the Restructuring Sub-Committee, hereby submits its second interim fee application (the “Fee

 Application”), pursuant to sections 330 and 331 of title 11 of the United States Code, 11 U.S.C.

 §§ 101–1532 (the “Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure

 (the “Bankruptcy Rules”), and Rule 2016-1 of the Local Rules for the Southern District of New

 York (the “Local Rules”), for allowance of compensation for professional services provided in

 the amount of $4,973,799.25 and reimbursement of actual and necessary expenses in the amount

 of $1,160,821.70 that Paul, Weiss incurred for the period from March 1, 2019 through June 30,

 2019 (the “Fee Period”). In support of this Fee Application, Paul, Weiss submits the declaration

 of Paul M. Basta, a partner of Paul, Weiss regarding Paul, Weiss’s compliance with the Fee

 Guidelines (defined below) (the “Basta Declaration”), which is attached hereto as Exhibit A. In

 further support of this Fee Application, Paul, Weiss respectfully states as follows:

                                      Preliminary Statement

        1.      During the Fee Period, and since the commencement of these chapter 11 cases

 (the “Chapter 11 Cases”), Paul, Weiss professionals were retained to render professional services

 (i) acting at the direction of the restructuring sub-committee (the “Restructuring Sub-

 Committee”) of the restructuring committee (the “Restructuring Committee”) of the Company’s

 board of directors (the “Board”) with respect to certain matters controlled by the Restructuring

 Sub-Committee (the “RSC Conflict Matters”), including the Debtors’ investigation into

 prepetition related party transactions, and (ii) acting at the direction of the Restructuring

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 Committee or the Restructuring Sub-Committee, as the case may be, in connection with all

 matters in which Weil, Gotshal, & Manges LLP (“Weil”) could not represent the Debtors due to

 an actual or perceived conflict of interest (the “Other Conflict Matters” and, together with the

 RSC Conflict Matters, the “Conflict Matters”). This representation has enabled the Debtors to

 make significant progress in their restructuring efforts. During the Second Interim Fee Period,

 with the advice and assistance of Paul, Weiss, the Restructuring Sub-Committee continued its

 investigation into the legal and factual bases of prepetition related party transactions, analyzing

 hundreds of thousands of documents and identifying substantial claims against ESL Investments,

 Inc. and others. On April 17, 2019, Paul, Weiss filed a complaint in relation to those claims

 [Docket No. 3278] (the “Complaint”) and, over the next several months, prosecuted the

 Complaint, including by drafting and serving document requests on all defendants, drafting and

 serving initial disclosures, hosting a Rule 26(f) conference on May 30, 2019, and drafting an

 amended complaint in consultation with other parties in the Chapter 11 Cases. With the advice

 and assistance of Paul, Weiss, the Restructuring Sub-Committee also participated in negotiations

 regarding the terms of the Debtors’ Modified Second Amended Joint Chapter 11 Plan of Sears

 Holdings Corporation and Its Affiliated Debtors [Docket No. 4476] (the “Plan”) and related

 Disclosure Statement for Modified Second Amended Joint Chapter 11 Plan of Sears Holdings

 Corporation and Its Affiliated Debtors [Docket No. 4478] (the “Disclosure Statement”). Paul,

 Weiss drafted and filed the Response of the Restructuring Subcommittee to the Objections of ESL

 Investments, Inc. and the Official Committee of Unsecured Creditors [Docket No. 4039] in

 support of the Disclosure Statement, and appeared at the May 29, 2019 hearing to approve the

 Disclosure Statement on behalf of the Restructuring Sub-Committee. Paul, Weiss respectfully

 submits that the compensation and expense reimbursement sought herein for the necessary and



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 beneficial professional services Paul, Weiss provided to the Debtors and the Restructuring Sub-

 Committee during the Fee Period is reasonable and appropriate, commensurate with the scale,

 nature, and complexity of these Chapter 11 Cases, and should be allowed.

        2.      On November 16, 2018 this Court entered the Order Authorizing Procedures for

 Interim Compensation and Reimbursement of Expenses of Professionals [Docket No. 796]

 (the “Interim Compensation Order”). The Interim Compensation Order provides that when

 seeking compensation for services rendered, professionals must submit monthly fee statements to

 certain notice parties. Each person receiving a statement has fifteen (15) days after its receipt to

 review and object to such monthly fee statements. If no objection is made, the Debtors are

 authorized to pay 80% of the fees requested (with the remaining 20% of the fees requested

 referred to herein as the “Holdback”) and 100% of the charges and disbursements requested.

 Paul, Weiss has submitted monthly fee statements for each of the months covered by the Fee

 Period. The aggregate Holdback amount for the Fee Period is $994,759.85 (the “Second Interim

 Period Holdback”). Paul, Weiss is currently seeking allowance and payment of the Second

 Interim Period Holdback.

        3.      This Fee Application has been prepared in accordance with the Bankruptcy Code,

 the Bankruptcy Rules, the Local Rules, the Interim Compensation Order, the Amended

 Guidelines for Fees and Disbursements for Professionals in Southern District of New York

 Bankruptcy Cases pursuant to General Order M-447 (Jan. 29, 2013) (the “Local Guidelines”),

 and the U.S. Trustee Guidelines for Reviewing Applications for Compensation and

 Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11

 Cases, effective November 1, 2013 (the “UST Guidelines,” and, together with the Local

 Guidelines, the “Fee Guidelines”).



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           4.      The Debtors have been given the opportunity to review this Fee Application and

 have approved the compensation and reimbursement of expenses requested herein.

                                     Jurisdiction and Basis for Relief

           5.      The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before the

 Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                 Background

 A.        The Chapter 11 Filings and General Case Background

           6.      On October 15, 2018 (the “Petition Date”), and continuing thereafter, each of the

 Debtors filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code. The

 Debtors’ Chapter 11 Cases are being jointly administered for procedural purposes only pursuant

 to Rule 1015(b) of the Bankruptcy Rules. The Debtors continue to manage and operate their

 businesses as debtors in possession under sections 1107 and 1108 of the Bankruptcy Code. On

 October 24, 2018, the United States Trustee for Region 2 appointed an official committee of

 unsecured creditors (the “Creditors’ Committee”). No trustee or examiner has been appointed in

 these Chapter 11 Cases.

           7.      Information regarding the Debtors’ businesses, capital structure, and the

 circumstances leading to the commencement of these Chapter 11 Cases is set forth in the

 Declaration of Robert A. Riecker Pursuant to Rule 1007-2 of the Local Rules for Southern

 District of New York, sworn to on the Petition Date [Docket No. 3] (the “Riecker Declaration”)2.

           8.      The Debtors have advised Paul, Weiss that, to date, all quarterly fees due to the

 United States Trustee for the Southern District of New York (the “U.S. Trustee”) have been paid.


 2
     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Riecker
       Declaration.

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 B.     The Debtors’ Retention of Paul, Weiss

        9.          On November 1, 2018 the Debtors filed an application to employ Paul, Weiss as

 their attorneys acting at the direction of the Restructuring Sub-Committee [Docket No. 417] (the

 “Retention Application”). On November 16, 2018, the Court entered an order approving the

 Retention Application [Docket No. 774] (the “Retention Order”).

        10.         The Retention Order authorized the Debtors to compensate and reimburse Paul,

 Weiss, nunc pro tunc to the Petition Date, as their attorneys acting at the direction of the

 Restructuring Sub-Committee in these Chapter 11 Cases.                The Retention Order further

 authorized Paul, Weiss to provide services as described in the Retention Application, including:

              (a)      investigating and advising the Restructuring Sub-Committee regarding
                       whether a matter constitutes a RSC Conflict Matter;

              (b)      conducting investigations and analyses sufficient to advise the Restructuring
                       Sub-Committee regarding RSC Conflict Matters;

              (c)      implementing the directions of the Restructuring Sub-Committee related to
                       RSC Conflict Matters;

              (d)      implementing the directions of the Restructuring Committee or the
                       Restructuring Sub-Committee, as the case may be, with respect to Other
                       Conflict Matters; and

              (e)      rendering services for the Restructuring Sub-Committee and Restructuring
                       Committee including, but not limited to, fact investigation, legal research,
                       briefing, argument, discovery, negotiation, litigation, participation in meetings
                       of the Board and applicable committees thereof, appearance and participation
                       in hearings, and communications and meetings with parties in interest, in each
                       case as it relates to RSC Conflict Matters or Other Conflict Matters.

 C.     Disinterestedness of Paul, Weiss

        11.         To the best of the Debtors’ knowledge and as disclosed in the Declaration of Paul

 M. Basta in Support of the Debtors’ Application for an Order Authorizing the Retention and

 Employment of Paul, Weiss, Rifkind, Wharton & Garrison LLP as Attorneys for the Debtors



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 Nunc Pro Tunc to the Petition Date, attached as Exhibit B to the Retention Application (the

 “Initial Declaration”), as well as the First Supplemental Declaration of Paul M. Basta in Support

 of the Debtors’ Application for an Order Authorizing the Retention and Employment of Paul,

 Weiss, Rifkind, Wharton & Garrison LLP as Attorneys for the Debtors Nunc Pro Tunc to the

 Petition Date [Docket No. 516] (the “First Supplemental Declaration”), the Second Supplemental

 Declaration of Paul M. Basta in Support of Debtors’ Application for an Order Authorizing the

 Retention and Employment of Paul, Weiss, Rifkind, Wharton & Garrison LLP as Attorneys for

 the Debtors Nunc Pro Tunc to the Petition Date [Docket No. 1400] (the “Second Supplemental

 Declaration”), and the Third Supplemental Declaration of Paul M. Basta in Support of Debtors’

 Application for an Order Authorizing the Retention and Employment of Paul, Weiss, Rifkind,

 Wharton & Garrison LLP as Attorneys for the Debtors Nunc Pro Tunc to the Petition Date

 [Docket No. 2738]       (together with the First Supplemental Declaration and the Second

 Supplemental Declaration, the “Basta Declarations”) (a) Paul, Weiss is a “disinterested person”

 within the meaning of section 101(14) of the Bankruptcy Code, as required by section 327(a) of

 the Bankruptcy Code, and does not hold or represent an interest adverse to the Debtors’ estates,

 and (b) Paul, Weiss has no connection to the Debtors, their creditors, or other parties in interest,

 except as may have been disclosed in the Basta Declarations.

        12.     Paul, Weiss may have in the past represented, may currently represent, and may in

 the future represent parties in interest in connection with matters unrelated to the Debtors in

 these Chapter 11 Cases. In the Basta Declarations, Paul, Weiss disclosed its connections to

 parties in interest that it has been able to ascertain using its reasonable efforts. In light of the

 extensive number of the Debtors’ creditors and other parties in interest, Paul, Weiss is unable to

 conclusively identify all potential relationships. To the extent that Paul, Weiss becomes aware of



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 any additional relationships that may be relevant to Paul, Weiss’s representation of the Debtors,

 Paul, Weiss will promptly file a supplemental declaration.

        13.     Paul, Weiss performed the services for which it is seeking compensation at the

 direction of the Restructuring Sub-Committee and on behalf of the Debtors and their estates, and

 not on behalf of any other committee, creditor, or other entity.

        14.     As previously disclosed in the Initial Declaration, Paul, Weiss received an

 advanced payment retainer in connection with its engagement in the amount of $250,000, which

 it applied against its prepetition invoices. Paul, Weiss has received no payment and no promises

 for payment from any source other than the Debtors for services provided or to be provided in

 any capacity whatsoever in connection with these Chapter 11 Cases.

        15.     Pursuant to Bankruptcy Rule 2016(b), Paul, Weiss has not shared, nor has Paul,

 Weiss agreed to share, (a) any compensation it has received or may receive with another party or

 person other than with the partners, counsel, and associates of Paul, Weiss, or (b) any

 compensation another person or party has received or may receive.

                            Summary of Professional Compensation
                           and Reimbursement of Expenses Requested

        16.     Paul, Weiss seeks allowance of interim compensation for professional services

 performed during the Fee Period in the amount of $4,973,799.25 and for reimbursement of

 expenses incurred in connection with the rendition of such services in the amount of

 $1,160,821.70. During the Fee Period, Paul, Weiss attorneys and paraprofessionals expended a

 total of 6,789.3 hours in connection with the necessary services performed.

        17.     The hourly rates set forth in the Initial Declaration are Paul, Weiss’s standard

 hourly rates. These rates are set at a level designed to fairly compensate Paul, Weiss for the

 work of its attorneys and paralegals and to cover fixed and routine overhead expenses and are

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 revised on an annual basis. The hourly rates and corresponding rate structure utilized by Paul,

 Weiss in these Chapter 11 Cases are equivalent to the hourly rates and corresponding rate

 structure used by Paul, Weiss for other bankruptcy matters, as well as non-bankruptcy matters.

 The rates and rate structure reflect that such restructuring and other complex matters typically are

 national in scope and typically involve great complexity, high stakes, and severe time pressures.

          18.   Attached hereto as Exhibit B is a schedule of Paul, Weiss attorneys and

 paraprofessionals who have performed services for the Debtors during the Fee Period, the

 capacities in which each individual is employed by Paul, Weiss, the department in which the

 individual practices, the hourly billing rate charged by Paul, Weiss for services performed by

 such individuals, the year in which each attorney was first licensed to practice law, where

 applicable, and the aggregate number of hours expended in this matter and fees billed in

 connection therewith.

          19.   Attached hereto as Exhibit C is a summary of Paul, Weiss’s time records billed

 using task codes described below. To provide a meaningful summary of Paul, Weiss’s services

 provided on behalf of the Debtors and their estates, Paul, Weiss has established, in accordance

 with its internal billing procedures, certain task code categories (each, a “Task Code Category”)

 in connection with these Chapter 11 Cases. Paul, Weiss maintains computerized records of time

 spent by all Paul, Weiss attorneys and paraprofessionals in connection with these Chapter 11

 Cases. Copies of these computerized records have been furnished to the Debtors, the Court, and

 the U.S. Trustee in the format specified by the Fee Guidelines for each month of the case through

 June 2019, each with a statement of the fees and disbursements accrued during the corresponding

 month.




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        20.     Attached hereto as Exhibit D is a schedule specifying the categories of expenses

 for which Paul, Weiss is seeking reimbursement and the total amount for each such expense

 category. Itemized computer records of all such expenses have been provided to the Debtors and

 filed in conjunction with each monthly fee statement.

        21.     Attached hereto as Exhibit E is a summary and comparison of the aggregate

 blended hourly rates billed by Paul, Weiss New York timekeepers to non-bankruptcy matters

 during the proceeding rolling twelve-month period year ending June 30, 2019 and the blended

 hourly rates billed to the Debtors during the Fee Period.

        22.     Attached hereto as Exhibit F is a budget and staffing plan prepared in connection

 with Paul, Weiss’s representation of the Debtors in these Chapter 11 Cases.

        23.     To the extent that time or disbursement charges for services rendered or

 disbursements incurred relate to the Fee Period, but were not processed prior to the preparation

 of this Fee Application, Paul, Weiss reserves the right to request additional compensation for

 such services and reimbursement of such expenses by future application to the Court.

                 Summary of Legal Services Rendered During the Fee Period

        24.     As discussed above, during the Fee Period, Paul, Weiss provided extensive and

 significant professional services to the Debtors acting at the direction of the Restructuring Sub-

 Committee in connection with these Chapter 11 Cases. These services were often performed

 under severe time constraints and were necessary to address a multitude of critical issues both

 unique to these Chapter 11 Cases and typically faced by large corporate debtors in similar cases

 of this magnitude and complexity.

        25.     Below is a more detailed summary of the most significant professional services

 performed by Paul, Weiss in each Task Code Category, organized in accordance with Paul,



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 Weiss’s internal system of matter numbers for these Chapter 11 Cases. The detailed descriptions

 demonstrate that Paul, Weiss was heavily involved in performing services for the Debtors on a

 daily basis, often including night and weekend work, to meet the needs of the Debtors’ estates in

 these Chapter 11 Cases.

 A.     Case Administration [Matter 701]
        Total Fees: $108,644.00
        Total Hours: 289.3

        26.     This task code includes time spent by Paul, Weiss attorneys on various

 administrative tasks, including maintenance of case calendars, working group lists, task lists, and

 timelines created for use by Paul, Weiss attorneys and the Debtors, as well as the creation and

 distribution of documents to the Paul, Weiss team, the Debtors, the U.S. Trustee and the Court.

 This task code includes time spent by Paul, Weiss attorneys preparing for and participating in

 calls and meetings with the Paul, Weiss team and/or with the Debtors and their other

 professionals, including to discuss case status or other open items.

 B.     Conflict Matters: General [Matter 702]
        Total Fees: $15,213.00
        Total Hours: 19.7

        27.     This task code includes time spent by Paul, Weiss attorneys on tasks in

 connection with general conflict matters. This task code primarily encompasses time spent

 researching, drafting and editing internal memoranda analyzing general case issues, such as

 general procedural issues and general bankruptcy law issues.

 C.     Conflict Matters: Investigations & Discovery [Matter 703]
        Total Fees: $1,416,332.50
        Total Hours: 2,732.1

        27.     This task code includes time spent by Paul, Weiss attorneys on a multitude of

 tasks relating to all aspects of the investigation of prepetition related party transactions. In



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 particular, this task code includes (a) all aspects of document review, including coordinating

 document production with various parties and reviewing hundreds of thousands of documents for

 privilege and responsiveness, (b) analyzing the legal and factual bases of potential claims in

 connection with prepetition related party transactions, (c) preparing for and conducting an

 interview in connection with the investigation, and (d) attending in-person and telephonic

 conferences with various parties, such as the Restructuring Sub-Committee, the Restructuring

 Committee, the Debtors’ other professionals, and the Creditors’ Committee, on matters relating

 to the investigation.

 D.         Fee/Employment Applications (Paul, Weiss) [Matter 705]
            Total Fees: $112,011.50
            Total Hours: 179.2

      28.         This task code includes time spent preparing and filing the monthly fee

 statements, including confirming attorneys’ and paralegals’ recorded time in the appropriate

 Task Code Category, reviewing time detail to ensure compliance with the Fee Guidelines,

 reviewing time detail for privileged information, drafting the fee statements, preparing materials

 for the fee examiner appointed in these Chapter 11 Cases pursuant to the Order Authorizing

 Appointment of Independent Fee Examiner pursuant to 11 U.S.C. § 105(a) and Modifying

 Interim Compensation Procedures for Certain Professionals Employed Pursuant to 11 U.S.C.

 § 327 [Docket No. 3307], creating tables, and summarizing time detail to adequately disclose

 compensation and expense reimbursements sought in each monthly fee statement.

 E.         Fee/Employment Applications (Other) [Matter 706]
            Total Fees: $26,073.50
            Total Hours: 35.3

            29.   This task code includes time spent preparing, reviewing, and filing the monthly

 fee statements of the Debtors’ other professionals acting at the direction of the Restructuring



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 Sub-Committee, including Alvarez & Marsal North America, LLC (“A&M”), Evercore Group,

 LLC (“Evercore”), and Stout, Risius & Ross, LLC (“Stout”). In particular, this task code

 includes reviewing time detail to ensure compliance with the Fee Guidelines, creating tables, and

 summarizing time detail to adequately disclose compensation and expense reimbursements

 sought in each monthly fee statement.

 F.     Fee/Employment Objections [Matter 707]
        Total Fees: $2,191.00
        Total Hours: 2.8

        30.    This task code includes time spent by Paul, Weiss attorneys reviewing and

 analyzing objections filed to monthly fee statements, and in particular, the Objection to Payment

 of the Second Monthly Fee Statement of Evercore Group, LLC for Compensation Earned and

 Expenses Incurred for February 16, 2018 Through March 15, 2019 filed by Wilmington Trust,

 National Association [Docket No. 3167].

 G.     Plan and Disclosure Statement [Matter 709]
        Total Fees: $650,869.50
        Total Hours: 577.9

        31.    This task code includes time spent by Paul, Weiss attorneys researching, drafting

 and revising the plan and related documents. In particular, this task code includes time spent by

 Paul, Weiss attorneys assisting the Debtors in reviewing and developing the Plan and the

 Disclosure Statement, and in particular, Plan matters relating to RSC Conflict Matters. For

 example, this task code includes time spent by Paul, Weiss professionals (a) participating in

 multiple conferences with the Debtors’ other professionals and the Debtors’ key stakeholders

 regarding the development of the Plan, (b) reviewing and analyzing materials concerning Plan-

 related issues, (c) reviewing and revising multiple drafts of the Plan and Disclosure Statement,

 and (d) reviewing objections received by the Debtors to the Disclosure Statement.



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        32.     Further, this task code includes the time spent researching, drafting, and revising

 the Response of the Restructuring Subcommittee to the Objections of ESL Investments, Inc. and

 the Official Committee of Unsecured Creditors [Docket No. 4039] in support of the Disclosure

 Statement.

 H.     Litigation [Matter 710]
        Total Fees: $2,559,460.50
        Total Hours: 2,871.40

        33.     This task code includes time spent by Paul, Weiss attorneys in connection with

 the litigation resulting from the investigation of prepetition related party transactions. In

 particular, this includes (a) researching, drafting, and editing the Complaint, (b) preparing and

 serving document requests on all defendants named in the Complaint, (c) preparing for and

 attending the Rule 26(f) Conference on May 30, 2019, (d) research in connection with hiring

 experts in the litigation, (e) drafting and serving initial disclosures, (f) preparing interrogatories

 for the defendants named in the Complaint, (g) preparing third-party subpoenas, (h) responding

 to the defendants’ discovery requests, (i) research related to drafting an opposition to an

 anticipated motion to dismiss, and (j) attending in-person and telephonic conferences with

 various parties, such as the Restructuring Sub-Committee, the Restructuring Committee, the

 Debtors’ other professionals, and the Creditors’ Committee, to engage in extensive negotiations

 on matters relating to the Complaint, including with respect to discovery plans, briefing

 schedules, privilege issues and document requests.

 I.     Travel Time [Matter 712]
        Total Fees: $8,967.75
        Total Hours: 18.5




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         34.     This task code includes non-working travel time spent by Paul, Weiss attorneys

 traveling to and from court hearings, interviews, depositions, and other case matters. The fees for

 this task code are billed at fifty percent.

 J.      Court Hearings [Matter 713]
         Total Fees: $48,757.50
         Total Hours: 42.6

         35.     This task code includes time spent by Paul, Weiss attorneys attending various

 court hearings, including the hearing to approve the Disclosure Statement held on May 29, 2019,

 and various other omnibus hearings in these Chapter 11 Cases. All Paul, Weiss attorneys who

 attended the hearing provided support for, and/or argued at, the various court hearings.

 K.      Sale Transactions [Matter 714]
         Total Fees: $20,752.50
         Total Hours: 15.9

         36.     This task code includes time spent by Paul, Weiss attorneys on various tasks in

 relation to the sale of substantially all of the Debtors’ assets. In particular, this includes

 (a) reviewing and analyzing documents in relation to issues regarding sale dispute issues

 between the Debtors and Transform Hold Co, and (b) attending in-person and telephonic

 conferences with various parties, such as the Restructuring Sub-Committee and the Creditors’

 Committee, and the Debtors’ other professionals to discuss the same.

 L.      Corporate Governance [Matter 716]
         Total Fees: $4,526.00
         Total Hours: 4.6

         37.     This task code includes time spent by Paul, Weiss attorneys analyzing corporate

 governance issues, such as the scope of the Restructuring Sub-Committee’s duties as they relate

 to the investigation of prepetition related party transactions. This task code also includes time

 spent reviewing and analyzing corporate governance documents.



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          38.   The forgoing professional services performed by Paul, Weiss were necessary to

 and appropriate for the administration of the Debtors’ Chapter 11 Cases during the Fee Period

 and were in the best interests of the Debtors and their stakeholders. Compensation of such

 services is commensurate with the complexity, importance, and the nature of the issues and tasks

 that were involved. The professional services were performed skillfully and efficiently.

          39.   Many of the services performed by partners and associates of Paul, Weiss were

 provided by Paul, Weiss’s Litigation Group, and Bankruptcy & Corporate Reorganization

 Group.     Paul, Weiss has a prominent practice in these areas and enjoys a national and

 international reputation for its expertise in investigations, financial reorganizations and

 restructurings of troubled companies. The attorneys at Paul, Weiss have represented either the

 debtors or an official or unofficial creditors’ committee or have acted as special counsel in many

 large chapter 11 cases.

          40.   In addition, due to the facts and circumstances of these Chapter 11 Cases,

 attorneys from Paul, Weiss’s corporate groups were also involved with Paul, Weiss’s

 representation of the Debtors. These practice groups also enjoy a national and international

 reputation for their expertise.    Overall, Paul, Weiss brings to these Chapter 11 Cases a

 particularly high level of skill and knowledge, benefiting the Debtors and all stakeholders.

                    Actual and Necessary Expenses Incurred by Paul, Weiss

          41.   As set forth in Exhibit D attached hereto, Paul, Weiss has incurred a total of

 $1,160,821.70 in expenses on behalf of the Debtors during the Fee Period. These charges are

 intended to reimburse Paul, Weiss’s direct operating costs, which are not incorporated into Paul,

 Weiss’s hourly billing rates. Paul, Weiss charges external copying and computer research at the

 provider’s cost without markup.      Only clients who actually use services of this type are



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 separately charged for such services. The effect of including such expenses as part of the hourly

 billing rates would impose that cost upon clients who do not require extensive photocopying and

 other facilities and services.

         42.     The time constraints imposed by the circumstances of these Chapter 11 Cases

 required Paul, Weiss attorneys and other employees to devote substantial time during the

 evenings and on weekends to perform services on behalf of the Debtors. These services were

 essential to meet deadlines relating to various tasks in connection with the RSC Conflict Matters

 and the orderly administration of the Debtors’ estates. Consistent with firm policy, and as further

 disclosed in the Retention Application, Paul, Weiss attorneys and other Paul, Weiss employees

 who worked late in the evenings or on weekends were reimbursed for their reasonable meal and

 transportation costs. All overtime meals were capped at $20.00 per meal per the Fee Guidelines.

 Paul, Weiss’s regular practice is not to include components for those charges in overhead when

 establishing billing rates, but rather to charge its clients for these and all other out-of-pocket

 disbursements incurred during the regular course of the rendition of legal services.

         43.     In compliance with the Fee Guidelines, Paul, Weiss charged $0.10 per page for

 black-and-white photocopying. For color copies, Paul, Weiss charged $0.20 per page. This does

 not exceed the maximum rate set by the Fee Guidelines.

         44.     In addition, due to the location of the Debtors’ businesses, creditors, and other

 parties in interest in relation to Paul, Weiss’s offices, frequent multi-party telephone conferences

 involving numerous parties were required. The disbursements for such services are not included

 in Paul, Weiss’s overhead for the purpose of setting billing rates, and Paul, Weiss has made

 every effort to minimize its disbursements in these Chapter 11 Cases. The actual expenses




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 incurred in providing professional services were necessary, reasonable, and justifiable under the

 circumstances to serve the needs of the Debtors in these Chapter 11 Cases.

        45.    Among other things, Paul, Weiss ensures that all overtime meals, travel meals,

 hotel rates, and airfares are reasonable and appropriate expenses for which to seek

 reimbursement. Specifically, Paul, Weiss regularly reviews its bills to ensure that the Debtors

 are only billed for services that were actual and necessary and, where appropriate, prorates

 expenses. In that regard, Paul, Weiss has voluntarily waived certain fees and reduced its fees

 and expenses following regular internal reviews of its bills. In the Fee Period, Paul, Weiss

 voluntarily reduced its fees by $88,738.75 and voluntarily reduced its expenses by $3,250.72.

 Consequently, Paul, Weiss does not seek payment of such fees or reimbursement of such

 expenses in this Fee Application.

       Paul, Weiss’s Requested Compensation and Reimbursement Should Be Allowed

        46.    Section 330 of the Bankruptcy Code provides that a court may award a

 professional employed under section 327 of the Bankruptcy Code “reasonable compensation for

 actual necessary services rendered . . . and reimbursement for actual, necessary expenses.” 11

 U.S.C. § 330(a)(1). Section 330 also sets forth the criteria for the award of such compensation

 and reimbursement:

        In determining the amount of reasonable compensation to be awarded . . . the
        court shall consider the nature, extent, and the value of such services, taking into
        account all relevant factors, including—

               (a)     the time spent on such services;

               (b)     the rates charged for such services;

               (c)     whether the services were necessary to the administration of, or
                       beneficial at the time at which the service was rendered toward the
                       completion of, a case under this title;



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                 (d)      whether the services were performed within a reasonable amount
                          of time commensurate with the complexity, importance, and nature
                          of the problem, issue, or task addressed;

                 (e)      with respect to a professional person, whether the person is board
                          certified or otherwise has demonstrated skill and experience in the
                          bankruptcy field; and

                 (f)      whether the compensation is reasonable based on the customary
                          compensation charged by comparably skilled practitioners in cases
                          other than cases under this title.

 11 U.S.C. § 330(a)(3).

         47.     Paul, Weiss respectfully submits that the services for which it seeks compensation

 in this Fee Application were, at the time rendered, necessary for and beneficial to the Debtors

 and their estates and were rendered to protect and preserve the Debtors’ estates. Paul, Weiss

 further believes that it performed the services for the Debtors economically, effectively, and

 efficiently, and the results obtained benefited not only the Debtors, but also the Debtors’ estates

 and the Debtors’ stakeholders. Paul, Weiss further submits that the compensation requested

 herein is reasonable in light of the nature, extent, and value of such services to the Debtors, their

 estates, and all parties in interest.

         48.     During the Fee Period, Paul, Weiss’s hourly billing rates for attorneys ranged

 from $1,165.00 to $1,560.00 for partners, $1,160.00 for counsel, $640.00 to $1,005.00 for

 associates, and $295.00 to $490.00 for staff attorneys and paraprofessionals. These hourly rates

 and corresponding rate structure utilized by Paul, Weiss in these Chapter 11 Cases are equivalent

 to the hourly rates and corresponding rate structure used by Paul, Weiss for restructuring,

 bankruptcy, insolvency, and comparable matters, and similar complex corporate, securities, and

 litigation matters, whether in court or otherwise, regardless of whether a fee application is

 required. Paul, Weiss strives to be efficient in the staffing of all matters. These rates and the rate



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 structure reflect that such matters are typically national in scope and involve great complexity,

 high stakes, and severe time pressures—all of which were present in these Chapter 11 Cases.

        49.     Moreover, Paul, Weiss’s hourly rates are set at a level designed to compensate

 Paul, Weiss fairly for the work of its attorneys and paraprofessionals and to cover certain fixed

 and routine overhead expenses. Hourly rates vary with the experience and seniority of the

 individuals assigned. These hourly rates are subject to periodic adjustments to reflect economic

 and other conditions and are consistent with the rates charged elsewhere.

        50.     In sum, Paul, Weiss respectfully submits that the professional services provided

 by Paul, Weiss on behalf of the Debtors and their estates during these Chapter 11 Cases were

 necessary and appropriate given the complexity of these Chapter 11 Cases, the time expended by

 Paul, Weiss, the nature and extent of Paul, Weiss’s services provided, the value of Paul, Weiss’s

 services, and the cost of comparable services outside of bankruptcy, all of which are relevant

 factors set forth in section 330 of the Bankruptcy Code. Accordingly, Paul, Weiss respectfully

 submits that approval of the compensation sought herein is warranted and should be approved.

                                      Reservation of Rights

        51.     It is possible that some professional time expended or expenses incurred during

 the Fee Period are not reflected in this Fee Application. Paul, Weiss reserves the right to include

 such amounts in future fee applications.

                                               Notice

        52.     Notice of this Motion shall be given by hand or overnight delivery or email where

 available upon (i) Sears Holdings Corporation, 3333 Beverly Road, Hoffman Estates, Illinois

 60179, Attention: Rob Riecker (email: Rob.Riecker@searshc.com) and Luke Valentino (email:

 Luke.Valentino@searshc.com); (ii) counsel to the Debtors, Weil, Gotshal & Manges LLP, 767



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 Fifth Avenue, New York, NY 10153, Attention: Ray C. Schrock (email: ray.schrock@weil.com),

 Jacqueline    Marcus       (email:   jacqueline.marcus@weil.com),       Garrett   A.     Fail   (email:

 garrett.fail@weil.com), and Sunny Singh (email: sunny.singh@weil.com); (iii) William K.

 Harrington, the United States Trustee, U.S. Federal Office Building, 201 Varick Street, Suite

 1006,     New       York,       NY     10014,     Attention:     Paul      Schwartzberg         (e-mail:

 paul.schwartzberg@usdoj.gov) and Richard Morrissey (e-mail: richard.morrissey@usdoj.gov);

 (iv) Paul E. Harner, Ballard Spahr LLP, the independent fee examiner, 1675 Broadway 19th

 Floor, New York, NY 10019 (email: harnerp@ballardspahr.com); (v) counsel to the Official

 Committee of Unsecured Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,

 New York, New York, 10036, Attention: Philip C. Dublin (email: pdublin@akingump.com), Ira

 Dizengoff     (email:      idizengoff@akingump.com),      and   Sara     Lynne    Brauner       (email:

 sbrauner@akingump.com); and (vi) counsel to Bank of America, N.A., Skadden, Arps, Slate,

 Meagher & Flom LLP, 4 Times Square, New York, NY 10036, Attention: Paul D. Leake (email:

 paul.leake@skadden.com), Shana A. Elberg (email: shana.elberg@skadden.com) and George R.

 Howard (email: george.howard@skadden.com) (collectively, the “Notice Parties”).

         53.     No previous request for the relief sought herein has been made by the Debtors to

 this or any other court.

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        WHEREFORE, Paul, Weiss respectfully requests that the Court enter an order:

 (a) awarding Paul, Weiss compensation for professional and paraprofessional services provided

 during the Fee Period in the amount of $4,973,799.25, and reimbursement of actual, reasonable

 and necessary expenses incurred in the Fee Period in the amount of $1,160,821.70;

 (b) authorizing and directing the Debtors to remit payment to Paul, Weiss for such fees and

 expenses; and (c) granting such other relief as is appropriate under the circumstances.


 Dated: August 14, 2019             /s/ Paul M. Basta____________
 New York, New York                 PAUL, WEISS, RIFKIND, WHARTON &
                                    GARRISON LLP
                                    1285 Avenue of the Americas
                                    New York, New York 10019
                                    Tel: 212-373-3000
                                    Fax: 212-757-3990
                                    Paul M. Basta
                                    Kelley A. Cornish
                                    Lewis R. Clayton

                                    Counsel for the Debtors, Acting at the
                                    Direction of the Restructuring Sub-Committee




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                                     Exhibit A

                                 Basta Declaration
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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------x
 In re:                                                           :       Chapter 11
                                                                  :
 SEARS HOLDINGS CORPORATION, et al.                               :       Case No. 18-23538 (RDD)
                                                                  :
                   Debtors.1                                      :       (Jointly Administered)
                                                                  :
 -----------------------------------------------------------------x

     DECLARATION OF PAUL BASTA IN SUPPORT OF THE SECOND INTERIM FEE
       APPLICATION OF PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP,
      ATTORNEYS FOR THE DEBTORS AND DEBTORS IN POSSESSION, FOR THE
       PERIOD FROM MARCH 1, 2019 THROUGH AND INCLUDING JUNE 30, 2019

          PAUL BASTA makes this declaration under 28 U.S.C. § 1746:

          1.       I am a partner in the law firm of Paul, Weiss, Rifkind, Wharton & Garrison LLP

 (“Paul, Weiss”), an international law firm with its principal offices at 1285 Avenue of the

 Americas, New York, New York 10019. I am a lead attorney from Paul, Weiss working on the

 above-captioned chapter 11 cases (the “Chapter 11 Cases”). I am a member in good standing of




 1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart
      Operations LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc.
      (6774); A&E Factory Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn & Garden, LLC
      (5028); A&E Signature Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc. (7180); Kmart
      Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co. (6028); Sears
      Holdings Management Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears Home
      Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services, Inc.
      (2859); Sears Protection Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck
      Acceptance Corp. (0535); Sears, Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs
      LLC (None); Big Beaver of Florida Development, LLC (None); California Builder Appliances, Inc. (6327);
      Florida Builder Appliances, Inc. (9133); KBL Holding Inc. (1295); KLC, Inc. (0839); Kmart of Michigan, Inc.
      (1696); Kmart of Washington LLC (8898); Kmart Stores of Illinois LLC (8897); Kmart Stores of Texas LLC
      (8915); MyGofer LLC (5531); Sears Brands Business Unit Corporation (4658); Sears Holdings Publishing
      Company, LLC. (5554); Sears Protection Company (Florida), L.L.C. (4239); SHC Desert Springs, LLC (None);
      SOE, Inc. (9616); StarWest, LLC (5379); STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC (None);
      BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); Kmart.com LLC
      (9022); SHC Licensed Business LLC (3718); SHC Promotions LLC (9626); Sears Brands Management
      Corporation (5365), and SRe Holding Corporation (4816). The location of the Debtors’ corporate headquarters
      is 3333 Beverly Road, Hoffman Estates, Illinois 60179.
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 the Bar of the State of New York and I have been admitted to practice in the United States

 District Court for the Southern District of New York.

         2.      I have read the foregoing fee application of Paul, Weiss for the Fee Period (the

 “Fee Application”).2 To the best of my knowledge, information, and belief, the statements

 contained in the Fee Application are true and correct. In addition, I believe that the Fee

 Application complies with Local Rule 2016-1 and the Fee Guidelines.

         3.      In connection therewith, I hereby certify that:

                 a)      I have read this application;

                 b)      to the best of my knowledge, information, and belief, formed after
                         reasonable inquiry, the fees and disbursements sought in the Fee
                         Application are permissible under the relevant rules, court orders, and
                         Bankruptcy Code provisions;

                 c)      the fees and disbursements sought in the Fee Application are billed at rates
                         customarily employed by Paul, Weiss and generally accepted by Paul,
                         Weiss’s clients.     In addition, none of the professionals seeking
                         compensation varied their hourly rate based on the geographic location of
                         the Debtors’ case;

                 d)      in providing a reimbursable expense, Paul, Weiss does not make a profit
                         on that expense, whether the service is performed by Paul, Weiss in-house
                         or through a third party;

                 e)      in accordance with Bankruptcy Rule 2016(a) and section 504 of the
                         Bankruptcy Code, no agreement or understanding exists between Paul,
                         Weiss and any other person for the sharing of compensation to be received
                         in connection with the above cases except as authorized pursuant to the
                         Bankruptcy Code, Bankruptcy Rules, or Local Rules; and

                 f)      all services for which compensation is sought were professional services
                         on behalf of the Debtors and not on behalf of any other person.

         4.      Pursuant to Section B(2) of the Local Guidelines, and as required by the Interim

 Compensation Order, I certify that Paul, Weiss has complied with the provisions requiring Paul,

 2
     Capitalized terms used, but not otherwise defined herein, have the meanings ascribed to them in the Fee
     Application.


                                                     2
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 Weiss to provide the Debtors and the U.S. Trustee with a statement of Paul, Weiss’s fees and

 expenses accrued during the previous month within the timetables set forth in the Interim

 Compensation Order.

        5.      Pursuant to Section B(3) of the Local Guidelines, I certify that Paul, Weiss has

 provided the U.S. Trustee and the Debtors with a statement of Paul, Weiss’s fees and expenses

 incurred during the Fee Period.

        6.      In accordance with the U.S. Trustee’s Guidelines, Paul, Weiss responds to the

 questions identified therein as follows:

        Question 1: Did Paul, Weiss agree to any variations from, or alternatives to, Paul, Weiss's
        standard or customary billing rates, fees or terms for services pertaining to this
        engagement that were provided during the Fee Period? If so, please explain.

        Answer: No.

        Question 2: If the fees sought in the Fee Application as compared to the fees budgeted for
        the time period covered by the Application are higher by 10% or more, did Paul, Weiss
        discuss the reasons for the variation with the client?

        Answer: The fees sought for the Fee Period do not exceed those budgeted for such time.

        Question 3: Have any of the professionals included in the Application varied their hourly
        rate based on geographic location of the bankruptcy case?

        Answer: No.

        Question 4: Does the Application include time or fees related to reviewing or revising
        time records or preparing, reviewing or revising invoices? If so, please quantify by hours
        and fees.

        Answer: The Application includes time for fees related to reviewing time records and
        preparing or reviewing invoices in connection with the preparation of monthly fee
        statements and invoices. The total time expended for such matters during the Fee Period
        is approximately 43.9 hours included within Task Code 705 and totals approximately
        $30,839.00.

        Question 5: Does the Application include time or fees for reviewing time records to
        redact any privileged or other confidential information? If so, please quantify hours and
        fees.

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       Answer: As part of the ordinary review of time records to ensure compliance with the Fee
       Guidelines, certain information may be redacted or edited to protect privileged or
       confidential information. Any time expended on reviewing and redacting time records
       for privileged or confidential information is included within Task Code 705 and includes
       time spent to (i) ensure that time entries comply with the Fee Guidelines and do not
       disclose privileged or confidential information, (ii) prepare monthly fee statements and
       begin to prepare the Fee Application, (iii) ensure the adequacy of disclosure regarding
       activities included in the Fee Application, and (iv) time spent on retention and on review
       of conflicts checks for parties in interest in these Chapter 11 Cases. As set forth above,
       the total time expended for such matters during the Fee Period is approximately 43.9
       hours included within Task Code 705 and totals approximately $30,839.00. All of these
       services were necessary components of Paul, Weiss’s fee and retention activities.

       Question 6: Does the Application include any rate increases since Paul, Weiss’s retention
       in these cases? If so, did the client review and approve those rate increases in advance?
       Did the client agree when retaining the law firm to accept all future rate increases?

       Answer: The Fee Application does not include any rate increases since Paul, Weiss’s
       retention in these Chapter 11 Cases.


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        7.      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

 is true and correct to the best of my knowledge and belief.


 Dated: August 14, 2019             Respectfully submitted,
 New York, New York

                                    /s/ Paul M. Basta_____
                                    Paul M. Basta
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                                     Exhibit B

                      COMPENSATION BY PROFESSIONAL
                     MARCH 1, 2019 THROUGH JUNE 30, 2019
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Name of Professional      Title       Department     Year            Hourly       Total        Total
                                                    Admitted       Billing Rate   Billed    Compensation
                                                                         ($)      Hours         ($)
Kelley Cornish          Partner       Bankruptcy       1984             1,560         160.0     247,884.00
Paul Basta              Partner       Bankruptcy       1993             1,560         159.2     248,352.00
Lewis Clayton           Partner       Litigation       1979             1,560         130.5     203,580.00
Richard Rosen           Partner       Litigation       1980             1,560           1.5       2,340.00
Susanna Buergel         Partner       Litigation       2002             1,485          93.9     139,441.50
Robert Britton          Partner       Bankruptcy       2008             1,165         165.0     190,419.25
Jonathan Hurwitz        Counsel       Litigation       1987             1,160         266.0     308,560.00
Stephen Koo             Counsel       Corporate        1988             1,160           3.5       4,060.00
Karen King              Counsel       Litigation       2001             1,160          47.5      55,100.00
Shane Avidan            Associate     Litigation       2013             1,005         286.2     287,631.00
David Fish              Associate     Litigation       2017              835           61.3      51,185.50
Daniel Negless          Associate     Litigation       2017              835           75.1      62,708.50
Jonathan Silberstein-   Associate     Litigation       2015              940          119.0     111,860.00
Loeb
Paul Gross              Associate     Litigation       2018            735           127.5       93,712.50
Emily Hoyle             Associate     Litigation       2018            735           267.6      196,686.00
David Giller            Associate     Litigation       2015            940           487.6      455,524.00
Rachel Corrigan         Associate     Litigation       2019            640           353.8      226,432.00
Akila Sarathy           Associate     Litigation    Not admitted       640            74.9       47,936.00
Caitlin Toto            Associate     Bankruptcy       2019            640           282.2      179,040.00
Spencer Young           Associate     Litigation   Not admitted        640           211.8      135,552.00
Margaret Sun            Associate     Litigation   Not admitted        640           314.4      201,216.00
Teresa Lii              Associate     Bankruptcy       2014            920           244.7      224,066.00
Attorney Total:                                                                     3933.2    3,673,286.25
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 Name of Staff Attorneys, Paralegals, and Other       Hourly Billing   Total Billed      Total
                Non-Legal Staff                         Rate ($)         Hours        Compensation
                                                                                          ($)
Madhuri Pavamani                                            490              200.8          98,392.00
Francine Murray                                             490              362.5         177,625.00
Claudia Novod                                               480               35.0          16,800.00
Binsy Cyriac                                                480              364.2         174,816.00
Heather Spitalnik                                           480                7.3           3,504.00
Adrian Burke                                                480               51.3          24,624.00
Brent Beck                                                  480               69.4          33,312.00
Lisa Johnson                                                480              313.5         150,480.00
Vincent Todarello                                           480               53.1          25,488.00
Mark Shapiro                                                480              163.6          78,528.00
James Crutchfield                                           480               33.6          16,128.00
Scott Golodner                                              480              180.2          86,496.00
Akiva Reich                                                 480              144.3          69,264.00
Michael Bernfeld                                            480               45.5          21,840.00
Sergio Herrera                                              480               86.7          41,616.00
Li Zhuang                                                   480               60.4          28,992.00
Ye Qing                                                     480               40.2          19,296.00
Arianny Mejia                                               480               57.6          27,648.00
Rosanna Rossi                                               480               62.1          29,808.00
Joseph Monzione                                             365               89.8          32,777.00
Brooke Filler                                               365               65.1          23,761.50
Zakiya Williams Wells                                       315               11.4           3,591.00
Jennifer Kellner                                            315               17.1           5,386.50
Rubin Danberg Biggs                                         315               35.6          11,214.00
Sarah Griffin                                               315              111.9          35,248.50
Olivia Irby                                                 315               29.5           9,292.50
Eric Gansman                                                315               18.6           5,859.00
Elisabeth Stuveras                                          345               14.5           5,002.50
Alan Wilbur                                                 345               99.8          34,431.00
David Dames                                                 295               17.0           5,015.00
Mary Olsen                                                  295               14.5           4,277.50
     Total Staff Attorneys, Paralegals and Other Non-Legal Staff:           2856.1       1,300,513.00




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       PROFESSIONALS                    BLENDED         TOTAL BILLED           TOTAL
                                        RATE ($)           HOURS           COMPENSATION ($)
 Partners and Counsel                    1,362.80                1,027.1            1,399,736.75
 Associates                               782.34                 2,906.1            2,273,549.50
 Staff Attorneys/Paralegals/Non-
                                          455.35                 2,856.1            1,300,513.00
 Legal Staff
 Blended Attorney Rate                    933.92

 Blended Rate All Timekeepers             732.59
                Total Fees Incurred                              6,789.3            4,973,799.25




                                                    3
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                                     Exhibit C

                       COMPENSATION BY TASK CODE
                     MARCH 1, 2019 THROUGH JUNE 30, 2019
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 AGGREGATE TIME SUMMARY BY TASK CODE
 FOR THE PERIOD MARCH 1, 2019 THROUGH JUNE 30, 2019

                           Project Category                     Total Hours      Total Fees ($)

 Case Administration (701)                                             289.3           108,644.00
 Conflict Matters: General (702)                                        19.7            15,213.00
 Conflict Matters: Investigations & Discovery (703)                   2,732.1        1,416,332.50
 Fee/Employment Applications (Paul, Weiss) (705)                       179.2           112,011.50
 Fee/Employment Applications (Other) (706)                              35.3            26,073.50
 Fee/Employment Objections (707)                                          2.8            2,191.00
 Plan and Disclosure Statement (709)                                   577.9           650,869.50
 Litigation (710)                                                     2,871.4        2,559,460.50
 Travel Time (712)                                                      18.5             8,967.75
 Court Hearings (713)                                                   42.6            48,757.50
 Sale Transactions (714)                                                15.9            20,752.50
 Corporate Governance (716)                                               4.6            4,526.00
 TOTAL                                                                6,789.3        4,973,799.25
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    TIME SUMMARY BY TASK CODE

     Task Code 701              Title         Total               Hourly Rate ($)       Total Compensation ($)
   Case Administration                        Hours

Jonathan Hurwtiz             Counsel              0.3     x                 1,160   =                     348.00
Teresa Lii                   Associate            1.2     x                   920   =                   1,104.00
Margaret Sun                 Associate            1.6     x                   640   =                   1,024.00
Caitlin Toto                 Associate           32.9     x                   640   =                  21,056.00
Madhuri Pavamani             Staff Attorney       2.3     x                   490   =                   1,127.00
Rubin Danberg Biggs          Paralegal           18.2     x                   315   =                   5,733.00
Brooke Filler                Paralegal            8.6     x                   365   =                   3,139.00
Eric Gansman                 Paralegal           18.6     x                   315   =                   5,859.00
Sarah Griffin                Paralegal           79.0     x                   315   =                  24,885.00
Olivia Irby                  Paralegal           29.5     x                   315   =                   9,292.50
Jennifer Kellner             Paralegal            6.3     x                   315   =                   1,984.50
Joseph Monzione              Paralegal           89.8     x                   365   =                  32,777.00
Zakiya Williams Wells        Paralegal            1.0     x                   315   =                     315.00
                 Totals:                        289.3                                                 108,644.00
     Task Code 702              Title         Total               Hourly Rate ($)       Total Compensation ($)
Conflict Matters: General                     Hours

Paul M. Basta                Partner              1.0         x             1,560   =                   1,560.00
Kelley Cornish               Partner              0.8         x             1,560   =                   1,248.00
Shane Avidan                 Associate            0.7         x             1,005   =                     703.50
Paul Gross                   Associate            7.3         x               735   =                   5,365.50
Akila Sarathy                Associate            8.6         x               640   =                   5,504.00
Caitlin Toto                 Associate            1.3         x               640   =                     832.00
                 Totals:                         19.7                                                  15,213.00
       Task Code 703            Title         Total               Hourly Rate ($)       Total Compensation ($)
      Conflict Matters:                       Hours
Investigations & Discovery
Paul M. Basta                Partner             16.0         x             1,560   =                  24,960.00
Robert Britton               Partner              2.9         x             1,165   =                   3,378.50
Susanna Buergel              Partner              0.7         x             1,485   =                   1,039.50
Lewis Clayton                Partner              1.3         x             1,560   =                   2,028.00
Kelley Cornish               Partner              7.2         x             1,560   =                  11,232.00
Jonathan Hurwitz             Counsel             19.3         x             1,160   =                  22,388.00
Karen King                   Counsel              6.3         x             1,160   =                   7,308.00
Shane Avidan                 Associate            1.1         x             1,005   =                   1,105.50
Rachel Corrigan              Associate           73.8         x               640   =                  47,232.00
David Giller                 Associate           93.8         x               940   =                  88,172.00
Emily Hoyle                  Associate            5.0         x               735   =                   3,675.00
Teresa Lii                   Associate            0.5         x               920   =                     460.00
Akila Sarathy                Associate           66.3         x               640   =                  42,432.00
Jonathan Silberstein-Loeb    Associate            0.7         x               940   =                     658.00
Caitlin Toto                 Associate           22.2         x               640   =                  14,208.00

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Brent Beck                   Staff Attorney      69.4     x               480   =                  33,312.00
Michael Bernfeld             Staff Attorney      45.2     x               480   =                  21,696.00
Adrian Burke                 Staff Attorney      51.3     x               480   =                  24,624.00
James Crutchfield            Staff Attorney      33.6     x               480   =                  16,128.00
Binsy Cyriac                 Staff Attorney     364.0     x               480   =                 174,720.00
Scott Golodner               Staff Attorney     179.9     x               480   =                  86,352.00
Sergio Herrera               Staff Attorney      86.7     x               480   =                  41,616.00
Lisa Johnson                 Staff Attorney     313.5     x               480   =                 150,480.00
Arianny Mejia                Staff Attorney      57.6     x               480   =                  27,648.00
Francine N. Murray           Staff Attorney     361.8     x               490   =                 177,282.00
Claudia Novod                Staff Attorney      35.0     x               480   =                  16,800.00
Madhuri Pavamani             Staff Attorney     158.9     x               490   =                  77,861.00
Ye Qing                      Staff Attorney      40.0     x               480   =                  19,200.00
Akiva Reich                  Staff Attorney     144.3     x               480   =                  69,264.00
Rosanna Rossi                Staff Attorney      61.9     x               480   =                  29,712.00
Mark Shapiro                 Staff Attorney     159.8     x               480   =                  76,704.00
Heather Spitalnik            Staff Attorney       7.2     x               480   =                   3,456.00
Vincent Todarello            Staff Attorney      52.8     x               480   =                  25,344.00
Li Zhuang                    Staff Attorney      60.1     x               480   =                  28,848.00
Sarah Griffin                Paralegal           17.7     x               315   =                   5,575.50
Elisabeth Stuveras           Paralegal           14.5     x               345   =                   5,002.50
Alan D. Wilbur               Paralegal           99.8     x               345   =                  34,431.00
                  Totals:                      2732.1                                           1,416,332.50
       Task Code 705            Title         Total           Hourly Rate ($)       Total Compensation ($)
      Fee/Employment                          Hours
Applications (Paul, Weiss)
Robert Britton               Partner              1.2     x             1,165   =                   1,398.00
Kelley Cornish               Partner              3.1     x             1,560   =                   4,836.00
Paul Gross                   Associate            0.8     x               735   =                     588.00
Emily Hoyle                  Associate            0.5     x               735   =                     367.50
Teresa Lii                   Associate           36.0     x               920   =                  33,120.00
Margaret Sun                 Associate            0.6     x               640   =                     384.00
Caitlin Toto                 Associate           77.0     x               640   =                  49,280.00
Spencer Young                Associate            0.5     x               640   =                     320.00
Michael Bernfeld             Staff Attorney       0.3     x               480   =                     144.00
Binsy Cyriac                 Staff Attorney       0.2     x               480   =                      96.00
Scott Golodner               Staff Attorney       0.3     x               480   =                     144.00
Francine Murray              Staff Attorney       0.7     x               480   =                     343.00
Ye Qing                      Staff Attorney       0.2     x               480   =                      96.00
Rosanna Rossi                Staff Attorney       0.2     x               480   =                      96.00
Mark Shapiro                 Staff Attorney       0.3     x               480   =                     144.00
Heather Spitalnik            Staff Attorney       0.1     x               480   =                      48.00
Vincent Todarello            Staff Attorney       0.3     x               480   =                     144.00
Li Zhuang                    Staff Attorney       0.3     x               480   =                     144.00
Rubin Danberg Biggs          Paralegal            0.5     x               315   =                     157.50
Brooke Filler                Paralegal           49.8     x               365   =                  18,177.00
Sarah Griffin                Paralegal            0.5     x               315   =                     157.50
Jennifer Kellner             Paralegal            2.8     x               315   =                     882.00

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Zakiya Williams Wells       Paralegal           3.0    x               315 =                       945.00
                Totals:                       179.2                                            112,011.50
       Task Code 706             Title     Total           Hourly Rate ($)       Total Compensation ($)
      Fee/Employment                       Hours
   Applications (Other)
Robert Britton              Partner             2.5    x             1,165   =                   2,912.50
Teresa Lii                  Associate          10.3    x               920   =                   9,476.00
Caitlin Toto                Associate          20.1    x               640   =                  12,864.00
Brooke Filler               Paralegal           1.3    x               365   =                     474.50
Jennifer Kellner            Paralegal           1.1    x               315   =                     346.50
                 Totals:                       35.3                                             26,073.50
       Task Code 707             Title     Total           Hourly Rate ($)       Total Compensation ($)
      Fee/Employment                       Hours
         Objections
Robert Britton              Partner             0.6    x             1,165 =                       699.00
Teresa Lii                  Associate           0.3    x               920 =                       276.00
Caitlin Toto                Associate           1.9    x               640 =                     1,216.00
                 Totals:                        2.8                                              2,191.00
       Task Code 709             Title     Total           Hourly Rate ($)       Total Compensation ($)
    Plan and Disclosure                    Hours
         Statement
Paul M. Basta               Partner            98.8    x             1,560   =                 154,128.00
Robert Britton              Partner           100.1    x             1,165   =                 116,616.50
Susanna Buergel             Partner             2.7    x             1,485   =                   4,009.50
Lewis Clayton               Partner             4.8    x             1,560   =                   7,488.00
Kelley Cornish              Partner            92.9    x             1,560   =                 144,924.00
Richard Rosen               Partner             1.5    x             1,560   =                   2,340.00
Jonathan Hurwitz            Counsel             4.1    x             1,160   =                   4,756.00
Shane Avidan                Associate           3.3    x             1,005   =                   3,316.50
David Giller                Associate           8.9    x               940   =                   8,366.00
Paul Gross                  Associate           9.1    x               735   =                   6,688.50
Teresa Lii                  Associate         142.7    x               920   =                 131,284.00
Jonathan Silberstein-Loeb   Associate           2.7    x               940   =                   2,538.00
Caitlin Toto                Associate          91.1    x               640   =                  58,304.00
Spencer Young               Associate           3.3    x               640   =                   2,112.00
Brooke Filler               Paralegal           5.0    x               365   =                   1,825.00
Jennifer Kellner            Paralegal           6.9    x               315   =                   2,173.50
                  Totals:                     577.9                                            650,869.50
      Task Code 710              Title     Total           Hourly Rate ($)       Total Compensation ($)
        Litigation                         Hours

Paul M. Basta               Partner            34.0    x             1,560   =                  53,040.00
Robert Britton              Partner            36.6    x             1,165   =                  42,639.00
Susanna M. Buergel          Partner            90.5    x             1,485   =                 134,392.50
Lewis R. Clayton            Partner           124.4    x             1,560   =                 194,064.00
Kelley A. Cornish           Partner            43.0    x             1,560   =                  67,080.00

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Jonathan Hurwitz              Counsel            242.3     x             1,160   =                 281,068.00
Karen King                    Counsel             41.2     x             1,160   =                  47,792.00
Stephen Koo                   Counsel              2.5     x             1,160   =                   2,900.00
Shane Avidan                  Associate          281.1     x             1,005   =                 282,505.50
Rachel Corrigan               Associate          280.0     x               640   =                 179,200.00
David Fish                    Associate           61.3     x               835   =                  51,185.50
David Giller                  Associate          378.9     x               940   =                 356,166.00
Paul Gross                    Associate          110.3     x               735   =                  81,070.50
Emily Hoyle                   Associate          262.1     x               735   =                 192,643.50
Teresa Lii                    Associate           32.8     x               920   =                  30,176.00
Daniel Negless                Associate           75.1     x               835   =                  62,708.50
Jonathan Silberstein-Loeb     Associate          115.6     x               940   =                 108,664.00
Margaret Sun                  Associate          312.2     x               640   =                 199,808.00
Caitlin Toto                  Associate           25.9     x               640   =                  16,576.00
Spencer Young                 Associate          208.0     x               640   =                 133,120.00
Madhuri Pavamani              Staff Attorney      39.6     x               490   =                  19,404.00
Mark Shapiro                  Staff Attorney       3.5     x               480   =                   1,680.00
Rubin Danberg Biggs           Paralegal           16.9     x               315   =                   5,323.50
Sarah Griffin                 Paralegal           14.7     x               315   =                   4,630.50
Zakiya Williams Wells         Paralegal            7.4     x               315   =                   2,331.00
David Dames                   Paralegal           17.0     x               295   =                   5,015.00
Mary Olsen                    Paralegal           14.5     x               295   =                   4,277.50
                  Totals:                       2871.4                                           2,559,460.50
      Task Code 712                Title       Total           Hourly Rate ($)       Total Compensation ($)
       Travel Time                             Hours

Robert Britton                Partner              3.1     x             1,165   =                   1,805.75
Kelley A. Cornish             Partner              2.2     x             1,560   =                   1,716.00
David Giller                  Associate            6.0     x               940   =                   2,820.00
Teresa Lii                    Associate            2.3     x               920   =                   1,058.00
Caitlin Toto                  Associate            4.9     x               640   =                   1,568.00
                    Totals:                       18.5                                               8,967.75
     Task Code 713                 Title       Total           Hourly Rate ($)       Total Compensation ($)
     Court Hearings                            Hours

Paul M. Basta                 Partner              6.5     x             1,560   =                  10,140.00
Robert Britton                Partner              9.5     x             1,165   =                  11,067.50
Kelley A. Cornish             Partner              7.3     x             1,560   =                  11,388.00
Teresa Lii                    Associate           14.0     x               920   =                  12,880.00
Caitlin Toto                  Associate            4.9     x               640   =                   3,136.00
Brooke Filler                 Paralegal            0.4     x               365   =                     146.00
                    Totals:                       42.6                                              48,757.50
     Task Code 714                 Title       Total           Hourly Rate ($)       Total Compensation ($)
    Sale Transactions                          Hours

Paul M. Basta                 Partner              2.9     x             1,560 =                     4,524.00
Robert Britton                Partner              7.3     x             1,165 =                     8,504.50

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Kelley A. Cornish             Partner             3.5    x             1,560 =                   5,460.00
Stephen Koo                   Counsel             1.0                  1,160                     1,160.00
Teresa Lii                    Associate           1.2    x               920 =                   1,104.00
                    Totals:                      15.9                                           20,752.50
     Task Code 716                 Title     Total           Hourly Rate ($)     Total Compensation ($)
  Corporate Governance                       Hours

Robert Britton                Partner             1.2    x             1,165 =                   1,398.00
Teresa Lii                    Associate           3.4    x               920 =                   3,128.00
                    Totals:                       4.6                                            4,526.00




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                                     Exhibit D

                               EXPENSE SUMMARY
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 AGGREGATE ITEMIZED DISBURSEMENTS
 FOR THE PERIOD MARCH 1, 2019 THROUGH JUNE 30, 2019

                              Expenses Category                         Total Expenses ($)
 Electronic Discovery                                                             327,974.68
 Professional Services                                                            712,684.33
 Court Costs & Lit Expenses                                                        30,540.45
 Client Organizational Expenses                                                      144.00
 Information Retrieval Services                                                    45,464.94
 Out-of-Town Travel                                                                 6,560.42
 Miscellaneous                                                                      5,588.26
 Word Processing                                                                    6,663.75
 Overtime Expenses                                                                  5,430.39
 Duplicating Expenses                                                               7,079.78
 Communications                                                                      171.89
 Mail and Messengers                                                                1,209.93
 Local Transportation Expenses                                                      9,314.00
 Business Expenses                                                                  1,994.88
 TOTAL                                                                          1,160,821.70
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                                           Exhibit E

           CUSTOMARY AND COMPARABLE COMPENSATION DISCLOSURES


 Category of Timekeeper            Blended Hourly Rate
                                   Billed by Attorneys in New      Billed in this fee application
                                   York, excluding bankruptcy

 Partner                                               $1,400.78                         $1,453.34
 Counsel                                               $1,084.83                         $1,160.00
 Associates                                              $821.56                           $782.34
 Staff Attorneys, Paralegals and                         $463.59                           $455.35
 other Non-Legal Staff
 All timekeepers aggregated                              $848.77                           $732.59
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                                        Exhibit F

             BUDGET AND STAFFING PLAN MARCH 1, 2019-JUNE 30, 2019
                                  Budget

                       Aggregate Bill             Aggregate Hours         Primary Work
                                                       Billed                 Streams
                                                                      Researching and
                                                                      preparing the
                                                                      Complaint/Reviewing
March 2019         $825,440 to $1,013,040         1,100.00-1,350.00
                                                                      and negotiating Plan
                                                                      and Disclosure
                                                                      Statement

                                                                      Preparing and filing the
                                                                      Complaint/Reviewing
April 2019         $1,125,600 to $1,313,200       1,500.00-1,750.00   and negotiating Plan
                                                                      and Disclosure
                                                                      Statement

                                                                      Prosecuting
                                                                      Complaint/Reviewing
                                                                      and negotiating Plan
May 2019           $1,313,200 to $1,500,800       1,750.00-2,000.00   and Disclosure
                                                                      Statement/Preparing for
                                                                      Disclosure Statement
                                                                      hearing

                                                                      Prosecuting
                                                                      Complaint/Reviewing
June 2019          $1,313,200 to $1,500,800       1,750.00-2,000.00   and negotiating Plan
                                                                      and Disclosure
                                                                      Statement

Total:             $4,577,440 to $5,327,840       6,100.00-7,100.00




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                                           Staffing Plan


                                          NUMBER OF TIMEKEEPERS
                                         EXPECTED TO WORK ON THE        AVERAGE HOURLY
 CATEGORY OF TIMEKEEPER
                                         MATTER DURING THE BUDGET            RATE
                                                  PERIOD

                Partner                               5-7                     $1,477.86
                Counsel                               3-5                     $1,146.00
 Sr. Associate (7 or more years since
                                                      1-3                     $1,017.50
           first admission)
    Associate (4-6 years since first
                                                      3-5                      $951.25
              admission)
  Jr. Associate (1-3 years since first
                                                      5-9                      $762.27
              admission)
           Staff Attorneys                           15-25                     $480.83
  Paralegals & Other Professionals                   12-15                     $326.92




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